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Email: raypatricia@yahoo.com
 Attorney for Plaintiff

                                 UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF PENNSYLVANIA


 NINGBO BONNY E-HOME CO.,                    Case No. 2:24-cv-00568 CB
 LTD., a corporation of China

                 Plaintiff,
 v.


 ONDWAY, POOLCLEAN US
 STORE, USA WAREHOUSE,
 BOWANJIE, INPOOL US STORE,
 DEWFOND, DIGIGER,
 MOTOBUDDY STORE, and et al.
 Individual, Partnerships
                  Defendants.




       DECLARATION OF PATRICIA RAY IN SUPPORT OF PLAINTIFF’S
       REVISED MOTION FOR AN ORDER AUTHORIZING ALTERNATE
       SERVICE OF PROCESS
        I, Patricia Ray, hereby declare as follows:
        1. I am a Pennsylvania attorney who works with the law firm of RayChan IP
           Law Firm, located at 108 N Ynez Ave #213, Monterey Park, CA 91754 in
           representing Plaintiff in the above-referenced action.
        2. I make and submit this declaration in support of Plaintiff’s Revised Motion
           for an Order Authorizing Alternative Service of Process.
        3. I am personally knowledgeable of the matters set forth in this Declaration
           and, if called upon to do so, I could and would competently testify to the
           facts set forth below.


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4. Defendants have been accused of infringement by way of offer and sale of
    pool brushes that infringe Plaintiffs design patent.
5. Plaintiff’s investigation of Defendant’s e-commerce stores revealed that they
    are operating under seller names but have not provided valid information
    on location or anything like a mailing address where service could be
    provided.
6. While Plaintiff has not been able to determine Defendant’s exact location,
    Plaintiff has good cause to believe representatives of Defendants are China
    residents.
7. Defendants offer their products online and provide contact e-mail addresses
    on their e-commerce store as part of their electronic form of contact.
8. It appears that the only form of contact for service of Defendants is by
    alternate means of email or publication.
9. I have reviewed the Hague Convention on the Service Abroad of Judicial
    and Extra- Judicial Documents in Civil and Commercial Matters (“Hague
    Convention”), to which the United States and China are signatories and
    have determined that: China has declared that it opposes the service of
    documents in its territory by the alternative means of service outlined in
    Article 10 of the Convention. However, the Hague Convention does not
    preclude service by e-mail or publication, and the declarations to the Hague
    Convention filed by China do not expressly prohibit e-mail service.
           A copy of the Hague Convention on the Service Abroad of Judicial
    and Extra-Judicial Documents in Civil and Commercial Matters, is
    available at Hague Service Convention, November 15, 1965, 20 U.S.T. 361.
   I declare under penalty of perjury that the foregoing is true and correct.

  Dated: March 20, 2025.




                                    /Patricia L. Ray/
                                    Patricia Ray, Attorney for Plaintiff
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